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                   UNITED STATES DISTRICT COURT
                   SOUTHERN DISTRICT OF INDIANA
                           AT NEW ALBANY
                                      )
E’TALKA LACY,                         )              Electronically Filed
                                      )   CASE NO. 4:21-cv-133
     PLAINTIFF                        )
                                      )
VS.                                   )
                                      )
CAESARS RIVERBOAT CASINO, LLC         )
                                      )
     DEFENDANT                        )
                                      )

                                     NOTICE OF REMOVAL


       Comes the Defendant, Caesars Riverboat Casino, LLC (“Caesars”), by counsel, for its

Notice of Removal from the Harrison Circuit Court to this Court pursuant to 28 U.S.C. § 1332,

1441, 1446, hereby files this Notice of Removal. As ground for removal of this action, Caesars

respectfully states as follows:

       1.      On August 3, 2021, the Plaintiff, E’Talka Lacy (“Plaintiff”), commenced this civil

action against Caesars in the Harrison Circuit Court, designated therein as Civil Action No. 31C01-

2108-CT-000023. True and complete copies of the process, pleadings, and orders served upon

and filed by all parties in this action are attached as Exhibit 1.

       2.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1332 (a) and

(b) because there is diversity of citizenship between the parties and the total amount claimed by

Plaintiff exceeds the jurisdictional minimum of $75,000, though Defendant denies liability to

Plaintiff’s claims for damages.

       3.      The amount in controversy exceeds $75,000, exclusive of interest in costs.

       4.      Plaintiff is citizen of Kentucky.
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       5.      Pursuant to Cosgrove v. Bartolotta, 150 F.3d 729, 731 (7th Cir. 1998), “the

citizenship of an LLC for purposes of the diversity jurisdiction is the citizenship of its members.”

Pursuant to 28 U.S.C. § 1332 (c)(1), a corporation shall be deemed a citizen of its state of

incorporation and the state where it has its principal place of business.

       6.      Caesars Riverboat Casino, LLC is wholly owned by and has as its sole member

Roman Holding Company of Indiana, LLC. Roman Holding Company of Indiana, LLC is wholly

owned by and has as its sole member Caesars World, LLC. Caesars World, LLC is wholly owned

by and has as its sole member CEOC, LLC. CEOC, LLC is wholly owned by and has as its sole

member Caesars Resort Collection, LLC. Caesars Resort Collection, LLC is wholly owned by and

has as its sole member Caesars Growth Partners, LLC. Caesars Growth Partners, LLC is wholly

owned by and has as its sole member Caesars Holdings, Inc. Caesars Holdings, Inc. is incorporated

in Delaware and has its principal place of business in the State of Nevada. Therefore, Caesars

Riverboat Casino, LLC is a citizen of Delaware and Nevada.

       7.      This action arises from an incident that occurred on August 22, 2019. The

Complaint alleges that Plaintiff was injured in an incident at a property owned and operated by

Caesars.

       8.      This action is removable to this District Court pursuant to 28 U.S.C. § 1441(a). This

District and Division constitute the appropriate forum to which this action should be removed. The

Harrison Circuit Court is within the New Albany Division.

       9.      Venue is vested in this Court pursuant to 28 U.S.C. § 1391 since this is a civil action

where jurisdiction is founded on diversity of citizenship and the events complained of occurred in

the Southern District of Indiana.




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        10.     Pursuant to 28 U.S.C. § 1446(b), removal must be filed within thirty days after

receipt of the initial pleadings setting forth the claim for relief.

        11.     The Notice tendered herewith is being filed on August 26, 2021, within thirty days

of the receipt of Plaintiff’s Complaint, which was originally filed on August 3, 2021, thus making

removal timely.

        12.     Written notice of the filing of this Notice of Removal, the exhibits thereto, the

Notice and Certificate were mailed to Plaintiff’s counsel as of the date of this filing.

        13.     True and correct copies of the pleadings enumerated were filed with the Clerk of

the Harrison Circuit Court as of the date of this filing.

        WHEREFORE, Defendant, requests the removal of this action from the Harrison Circuit

Court to this Court for all other appropriate procedures.


                                                Respectfully submitted,

                                                WALTERS RICHARDSON, PLLC

                                                /s/ Joshua J. Leckrone

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                                                COUNSEL FOR DEFENDANT




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                                                     CERTIFICATE OF SERVICE

            This is to certify that the foregoing has been served on this the 26th day of August, 2021 by

mailing a true and accurate copy to the following:

 Ryan Russell
 Alex R. White, PLLC
 908 Minoma Avenue
 Louisville, KY 40217
 Counsel for Plaintiff

                                                                 /s/ Joshua J. Leckrone

                                                                 COUNSEL FOR DEFENDANT



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